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        Exhibit 14
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            Claim 1 of U.S. D563,325            Aprilaire Zoned Comfort Control Panel

The ornamental design for an HVAC control
device, as shown and described.

Figure 1:




                                            1
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Figure 2:




Figure 3:




                                      2
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Figure 4:




Figure 5:




                                      3
